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UNITED STATES DISTRIC'I` COURT
DISTR!CT OF CONNEC'I`ICUT

 

Jennlfer Allan, Civil Action NO.:

Plaintiff,
V.

Creciitor’s Financial Group, LLC, : COMPLAINT

Defendant.

 

For this Cornplaint, the Plaintiff, Jennifer Alian, by undersigned counsel, states as

follows:

.}URISI)ICTION

l. This action arises out of Defendant’s repeated violations of the Fair Debt
Collections Act, 15 U.S.C. § 1692, er seq. (“FDCPA”), and the invasions of Plaintift’ s personal
privacy by the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that Defendant
transacts business here and a substantial portion of the acts giving rise to this action occurred
here.

PARTIES

3. Piaintiff, Jennifer Allan (hereafter “Piaintifi“), is an adult individual residing at

204 Palmer Hill Road, Old Greenwich, Connecticut 06870, and is a “consumer” as the term is

defined by 15 U.S.C. § l692a(3).

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4. Defendant Creditor’s Financial Gronp, LLC (hereafter “Defendant”), is located at
3131 South Vaughn Way, Suite 110, Aurora, Colorado 80014, operating as a collection agency,

and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

5. The names of the individual collectors are unknown but they will be added by

amendment when determined through discovery.

FACTUAL ALLEGATIONS

6. Plaintiff incurred a financial obligation that was primarily for family, personal or

household purposes, and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

7. Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Plaintiff.

8. The Defendant then began attempts to coilect this debt from the Plaintiff, which

was a “communication” as defined in 15 U.S.C. § f692a(2).

9. The Defendant began contacting the Plaintiff in March in an attempt to collect the

debt.
10. The Defendant began calling the Piaintiff one to two times per day.

11. The Defendant threatened to put a lien on the Ptaintiff’s horne and to repossess

her belongings
12. The Defendant threatened to sue the Plaintiff if she did not make paymentsl

13. The Defendant then began calling the Plaintiff’s husband, both at home and at his

place of employment

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14. The Plaintiff has suffered actuai damages as a result of these illegal collection
communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,
embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy.

COUNT I

VIOLATI()NS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

15. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein

16. The Defendant contacted third parties and failed to confirm or correct location

information, in violation of 15 U.S.C. § 1692b(1).

17. The Def`endant informed third parties of the nature of Plaintiff’s debt and stated

that the Plaintiff owed a debt, in violation of 15 U.S.C. § 1692b(2).

l8. The Defendant contacted the Plaintiff at a place and during a time known to be

inconvenient for the Plaintiff, in violation of 15 U.S.C. § 16920(a)(1).

19. The Defendant caused a phone to ring repeatedly and engaged the Plaintiff in
telephone conversations, with the intent to annoy and harass, in violation of 15 U.S.C. §

1692d(5).

20. The Defendant threatened the Plaintiff with attachment of his property if the debt

was not paid, in violation of 15 U.S.C. § 1692e(4).

21. The Defendant threatened to take legal action, without actually intending to do so,

in violation er 15 U.s.c. § 1692@(5).

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22. The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions
23. The Plaintiff is entitled to damages as a result of Defendant’s violations

COUNT II
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
24. Plaintiff incorporates by reference all of the above paragraphs of this Cornplaint

as though fuliy stated herein.

25. The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,
“One who intentionally intrudes . .upon the solitude or seclusion of another, or his private affairs
or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

26. Connecticut further recognizes the Plaintiff’ s right to be free from invasions of

privaey, thus Defendant violated Connecticut state law.

27. Defendant intentionally intruded upon Plaintiff’s right to privacy by continually

harassing Plaintiff with phone calls and threats

28. The telephone calls made by Defendant to Plaintiff were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial
burden to her existence,” thus satisfying the Restatemen! ofTorts, Second, § 652(b) requirement

for an invasion of privacy.

29. The conduct of the Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

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30. As a result of the intrusions and invasions, Plaintiff` is entitled to actual damages

in an amount to be determined at trial from Defendant.

31. All acts of Defendant and its agents were committed with malice, intent,

wantonness and recklessness and as such, Defendant is subject to punitive damages

COUN'I` III

VIOLATIONS ()F THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
Conn. Gen. Stat. § 42-110:1, et seq.

32. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.
33. The Defendant is a “person” as defined by Conn. Gen. Stat. § 42-110a(3).

34. The Defendant engaged in unfair and deceptive acts and practices in the conduct

of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).
35. The Plaintiff is entitled to damages as a result of the Defendant’s violations

PRAYER FOR RELIEF
WHEREFORE, Plaintif`f prays that judgment be entered against Defendant:

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;

2. Statutoiy damages of $l,OO0.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
against Defendant;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against Defendant;

4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

5. Actual damages from Defendant for the all damages including emotional

distress suffered as a result of the intentional, reckless, and/or negligent

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FDCPA violations and intentional, reckless, and/or negligent invasions of
privacy in an amount to be determined at trial for Plaintiff;

6. Punitive damage; and

7. Such other and further relief as may be just and proper.

rI`RIAL BY JURY DEMANDED ON ALL COUNTS

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Dated: June l, 2009

    
 

